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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LIONEL ROGERS,
Plaintiff,

CIVIL ACTION NO.
08-10684-MBB

GERALD L. COFIELD,
Defendant.

VERDICT FORM

I. SECTION 1983 CLAIM

1. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT THE
PLAINTIFF ESTABLISHED ALL OF THE NECESSARY ELEMENTS OF HIS
SECTION 1983 CLAIM AGAINST THE DEFENDANT?

ANSWER: DE (yes or no).

Proceed to the next question.

II. FALSE ARREST CLAIM

2. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT THE
PLAINTIFF ESTABLISHED ALL OF THE NECESSARY ELEMENTS OF HIS FALSE

ARREST CLAIM AGAINST THE DEFENDANT?

ANSWER: YES (yes or no).
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If you answer yes, proceed to answer the next question. If

you answer no, proceed to answer question four.

3. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT THE
DEFENDANT SATISFIED HIS BURDEN IN SHOWING A JUSTIFICATION FOR THE
ARREST?

ANSWER: /VQO (yes or no).

Proceed to the next question.

III. BATTERY CLAIM
4. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT THE
PLAINTIFF ESTABLISHED ALL OF THE NECESSARY ELEMENTS OF HIS

BATTERY CLAIM AGAINST THE DEFENDANT?

ANSWER: /VQ (yes or no).

Proceed to the next question.

IV. ASSAULT CLAIM

5. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT THE
PLAINTIFF ESTABLISHED ALL OF THE NECESSARY ELEMENTS OF HIS
ASSAULT CLAIM AGAINST THE DEFENDANT?

ANSWER: pes (yes or no).
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Proceed to the next question.

V. ABUSE OF PROCESS CLAIM

6. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT THE
PLAINTIFF ESTABLISHED ALL OF THE NECESSARY ELEMENTS OF HIS ABUSE
OF PROCESS CLAIM AGAINST THE DEFENDANT?

ANSWER: LE (yes or no).

If you answered yes to question one, four, five and/or six
or no to question three, please proceed to answer the next

question. Otherwise, do not answer the remaining questions.

IV. DAMAGES

7. WHAT AMOUNT OF COMPENSATORY DAMAGES, IF ANY, DO YOU FIND
BY A PREPONDERANCE OF THE EVIDENCE WILL FAIRLY AND REASONABLY
COMPENSATE THE PLAINTIFF WITH RESPECT TO HIS DAMAGES IN THE PAST

UP TO TODAY?

ANSWER: $ 46 /¢$.3O
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Proceed to answer the next question.

8. WHAT AMOUNT OF COMPENSATORY DAMAGES, IF ANY, DO YOU FIND
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BY A PREPONDERANCE OF THE EVIDENCE WILL FAIRLY AND REASONABLY
COMPENSATE THE PLAINTIFF WITH RESPECT TO HIS DAMAGES IN THE

FUTURE?

ANSWER: $ / 5 000.00

If you answered yes to question one, proceed to answer
question nine. Otherwise proceed to the instructions immediately

above question 11.

9. KEEPING IN MIND MY INSTRUCTIONS ABOUT PUNITIVE DAMAGES,
DO YOU CHOOSE TO MAKE AN AWARD OF PUNITIVE DAMAGES?

ANSWER: NO (yes or no).

If you answered yes to question nine, proceed to answer
question ten. Otherwise proceed to the instructions immediately

above question 11.

10. WHAT AMOUNT OF PUNITIVE DAMAGES, IF ANY, DO YOU CHOOSE
TO AWARD THE PLAINTIFF?

ANSWER: $

If you awarded damages under the section 1983 claim in

answer to question seven and/or eight, proceed to answer question
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11. Otherwise, do not answer the remaining questions.

V. QUALIFIED IMMUNITY

11. DO YOU FIND BY A PREPONDERANCE OF THE EVIDENCE THAT A
REASONABLE POLICEMAN WOULD HAVE UNDERSTOOD THAT THE CONDUCT OF
THE DEFENDANT VIOLATED THE PLAINTIFF’S RIGHT TO BE FREE FROM AN
UNREASONABLE SEIZURE OF HIS PERSON UNDER THE FOURTH AMENDMENT?

ANSWER: yobs (yes or no).

12. REFERRING TO THE TOTAL AMOUNT OF COMPENSATORY DAMAGES
YOU AWARDED IN ANSWER TO QUESTIONS SEVEN AND NINE, WHAT AMOUNT,
IF ANY, REPRESENTS DAMAGES SOLELY FOR THE SECTION 1983 CLAIM
ABOVE AND BEYOND ANY DAMAGES YOU INCLUDED FOR THE STATE LAW.

CLAIMS?

ANSWER: $ 26 85. 3U

 

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